Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 1 of 66

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MOSHE SMILOWITZ, ABRAHAM DESSER, MINDY
DESSER, RIVKA DESSER, SAMUEL DESSER, ZIRA G.
DESSER, DAVID FRIEDMAN, ESTHER GOLDBERG, MEIR |
GOLDBERG, MENACHEM GOLDBERG, ZVI GOLDBERG,
LIPA GOLDSTEIN, HERSHEL GREEN, ABRAHAM var og 2018 (LL
GREENFIELD, HENDEL GREENFIELD, ARON KARPEN, __ || aR UY ol

BERL KARPEN, ESTHER KARPEN, FEIGY KARPEN, PEARL] begemgesmerss
KARPEN, RACHEL KARPEN, SHEMAYA KARPEN, ISAAC SOS uTERS
KOHN, YAACOV M. SEBBAG, BORECH STEIN, SHEINDEL CASHIER

STEIN, and JOSEPH S. WASSERMAN, on behalf of themselves

and others similarly situated, .

 

 

 

 

 

 

 

 

 

Plaintiffs, CLASS ACTION
COMPLAINT AND
DEMAND FOR
-against- JURY TRIAL

THE SULLIVAN COUNTY BOARD OF ELECTIONS,
ANN PRUSINSKI, and RODNEY GAEBEL, individually and

 

in their official capacities, Index No.
Defendants. ~
INTRODUCTION
1. Plaintiffs are Hasidic Jewish voters who have commenced this action, on behalf

of themselves and others similar situated, to stop the Sullivan County Board of Elections and its
Commissioners (collectively, the “Board” or the “BOE”) from engaging in an unyielding
discriminatory campaign to deprive Hasidic Jewish residents of Bloomingburg, New York (“the
Village” or “Bloomingburg”) of the fundamental right to vote.

2. On January 16, 2015, the Board provided notices to 184 registered voters that it

intended to cancel their voter registration and to deprive them of the right to vote. Of those 184

 
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 2 of 66

voters, more than 160 were Hasidic Jews. Despite the fact that all of them had previously
registered to vote in Bloomingburg, which is in Sullivan County, the Board purported to require
those voters to come forward once again and provide new evidence to demonstrate “why your
registration should not be cancelled.” While this targeted request was unconstitutional on its
face, Plaintiffs and other Hasidic Jews nonetheless came forward and attested to their residency.
But this process was a farce. On February 27, 2015, the BOE issued a blanket notice stating that
it would cancel 156 of the 184 voters’ registrations. The BOE provided no reasoned or
individualized explanation for this decision to deprive those 156 residents of their fundamental
constitutional rights.

3. These are extraordinarily irregular and obviously discriminatory actions. There is
no other instance in New York State, or in.recent memory anywhere else, where a board of
elections has sought to cancel the registrations of a subset of voters who appeared in person to
vouch for their residency and who in fact had voted in recent elections. The BOE proffered no
competent basis for questioning these voters’ residences. To target a hand-selected group of
voters and to impose on them the burden and expense of proving their right to vote is itself
improper. But what makes the action even more egregious here is that the Board of Elections
has sought to cancel the votes of virtually every Hasidic Jewish resident of Bloomingburg.
The Board plainly singled out these voters for challenge based entirely upon their religion.

4, As the Court is aware, the Hasidic community in Bloomingburg and the adjoining
Town of Mamakating is currently under assault by local officials. An aggressive and vocal
group of anti-Hasidic residents, who call themselves the “Rural Community Coalition” (the
“RCC”), have taken control of municipal governments and have sought to use governmental

power to intimidate, slow, and rollback Hasidic migration to the area. The litany of abuses
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 3 of 66

perpetrated by these government actors is currently the subject of litigation before this Court.
See Amended Complaint (Dkt. No. 43), Bloomingburg Jewish Educational Center v. Village of
Bloomingburg, NY, No. 7:14-cv-07250-KBF (S.D.N.Y. Nov. 26, 2014).

5. In support of this discriminatory conspiracy, Bloomingburg and Mamakating
officials, with support from the RCC, recently and urgently sought to dissolve Bloomingburg, a
village that has existed for 182 years, since Andrew Jackson was President. The RCC and its
political allies believe that if Bloomingburg is dissolved, then they may be able to renege on the
Village’s prior land-use approvals and prevent the growing Hasidic population, together with
non-Hasidic allies, from ever building a majority voting coalition. Accordingly, Bloomingburg
and Mamakating officials organized a petition calling for a special election to dissolve the
Village. The vote was scheduled for September 30, 2014, during the Jewish High Holy Days.

6. Days before the election, the RCC challenged 194 registered voters, 183 of who
were Hasidic or Orthodox Jews. The New York Supreme Court, acting on an emergency
application, ordered that all votes in that election be accompanied by sworn statements attesting
to the voter’s residence. Following the election, the court directed that the 69 challenged voters
who had voted in the special election should have their votes sequestered pending the Sullivan
County BOE’s determination of the challenges. See September 29, 2014 Order, Francis v.
Prusinski, No. 2014-2294 (N.Y. Sup. Ct. Sullivan Cty.).

7. The Board is controlled by officials who support the discriminatory efforts of the
RCC and Mamakating and Bloomingburg officials. In November 2014, the Board upheld nearly
all of the RCC’s challenges and declared that 63 of the 69 challenged votes cast during the
September election should not be counted. The Board described itself as “confronted with an

apparently mobile population,” refused to count the votes of Hasidic students because their
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 4 of 66

religious school lacked “accreditation,” and opined that it would disregard the County Sheriff's
interviews with voters at their homes, absent separate proof that “the challenged voter has met
the minimum residency requirement.” In addition to basing its decision on arbitrary and
discriminatory reasons, the BOE lacked any authority to cancel those votes in the first place.
Under well-established New York law, a board of elections must count challenged votes that
come from registered voters who appear at the polls and swear to their residency. As a result, the
New York court annulled the BOE’s action, and ordered that the 69 votes be counted. The
dissolution referendum was narrowly defeated. See Dec. 27, 2014 Order, Matter of Berger v.
Prusinski, No. 2716-2014 (N.Y. Sup. Ct. Sullivan Cty.).

8. Unchastened by the state court’s rebuke of its actions in connection with the
September 2014 election, the Board has renewed its efforts to disenfranchise Hasidic voters. On
March 18, 2015, the Village of Bloomingburg will hold an election for one of the three trustee
positions on the Bloomingburg board. The RCC, the BOE, and Bloomingburg’s incumbents are
determined to prevent any fair election that could undermine their control of the Village.

9. To that end, the BOE recently sent notices to virtually every single Hasidic voter
in Bloomingburg, expressing its intent to cancel their registrations, and imposing upon them the
burden of appearing at two midweek hearing dates or providing additional documentary evidence
or else forfeit their registrations. The BOE’s effort to impose upon lawfully registered voters the
burden of proving their right to vote was plainly unconstitutional. Indeed, over the past several
years, federal courts have sharply divided over whether a state unconstitutionally burdens the
right to vote by simply requiring voters to present photo identification at the polls. See, e.g.,
Veasey v. Perry, No. 13-CV-00193, 2014 WL 5090258, at *37 (S.D. Tex. Oct. 9, 2014); Frank v.

Walker, No. 11-CV-01128, 2014 WL 1775432 (E.D. Wis. Apr. 29, 2014), rev'd, 768 F.3d 744
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 5 of 66

(7th Cir. 2014). Here, the BOE has established obstacles to voting that are far more burdensome
than those imposed by a photo identification requirement.

10. The BOE knew that these Hasidic voters had lawfully registered in
Bloomingburg, that they had voted in recent elections, that they had attested to their residence
under penalty of perjury, and in many cases, that the County Sheriff had recently confirmed their
residences. Nonetheless, it imposed upon them the burden of coming forward with additional
written or testimonial evidence, at their own time and expense, or else forfeit their fundamental
rights as U.S. citizens to vote.

11. Despite the fact that the BOE could not constitutionally impose any such burdens,
Plaintiffs in fact responded to these threatening notices by presenting substantial evidence of
their residency. Plaintiffs reside in Bloomingburg, they have registered there, and it is their
constitutional right to vote there. The challenged voters completed the BOE’s questionnaires,
attested to their residency in Bloomingburg under penalty of perjury, and submitted substantial
documentation evidencing that fact. Many also appeared in person to attest to the fact that they
and their relatives were in fact registered voters.

12. At those hearings, the BOE Commissioners did not ask a single question to the
challenged voters who appeared, nor did they present any evidence then or thereafter to suggest
that any challenged voter was improperly registered in Bloomingburg. Nonetheless, and in spite
of the unrebutted evidence of these voters’ residences, the BOE took the unprecedented action of
cancelling 156 of the 184 challenged registrations, including those of the 27 named Plaintiffs
here. The Board provided no reasoned explanation for why it took some voters off the rolls but
left others in place. There is no lawful basis for such cancellations under the U.S. Constitution or

under the laws of the State of New York.
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 6 of 66

13. The BOE has already caused substantial injury to Plaintiffs. They have imposed
upon Plaintiffs the time and economic cost of participating in unlawful and biased court
proceedings, and they have deprived Plaintiffs of their fundamental rights to vote. The BOE’s
actions also have required the expenditure of substantial legal fees both in connection with
multiple state court actions and now this federal case.

14. ‘In addition, the BOE has given Plaintiffs every reason to believe that no matter
what happens with the March 2015 election, the matter will not end there. Rather, the BOE will
continue its effort to harass, intimidate, and challenge voters with each successive election,
unless or until stopped by this Court. Indeed, separate from its recent action, the BOE took the
highly irregular step of mailing to Hasidic Jewish voters “Confirmation Cards,” which seek to
impose additional burdens on those voters, and to manufacture additional evidence for future
efforts to cancel registered voters before future elections.

15. Right before filing this suit, Plaintiffs learned of still more challenges that will no
doubt invite additional harassment and unlawful conduct. On March 2, 2015, individuals
affiliated with the RCC filed another wave of challenges to Hasidic Jewish voters, seeking to
purge from the rolls the handful of voters whom the BOE had allowed to remain on the rolls.
The RCC’s new action will no doubt trigger additional administrative proceedings and additional
unconstitutional burdens on other members of the Hasidic Jewish community.

16. | The Board’s outrageous and illegal actions are part and parcel of a broader
conspiracy to discourage Hasidic Jews from moving to and living in Bloomingburg and
Mamakating. These actions reflect nothing more, and nothing less, than an effort to deprive
‘Plaintiffs of the right to vote because of their ethnicity and their religious practices. As the

Supreme Court has repeatedly confirmed, the U.S. Constitution protects the right to vote against
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 7 of 66

arbitrary efforts at disenfranchisement. See, e.g., Bush v. Gore, 531 U.S. 98, 104-05 (2000)
(“Having once granted the right to vote on equal terms, the State may not, by later arbitrary and
disparate treatment, value one person’s vote over that of another.”); Harper v. Va. State Bd. of
Elections, 383 U.S. 663, 665 (1966) (“[O]nce the franchise is granted to the electorate, lines may
not be drawn which are inconsistent with the Equal Protection Clause of the Fourteenth
Amendment”); Reynolds v. Sims, 377 U.S. 533, 555 (1964) (“[T]he right of suffrage can be
denied by a debasement or dilution of the weight of a citizen’s vote just as effectively as by
wholly prohibiting the free exercise of the franchise.”).

17. The Fourteenth Amendment further bars the States from imposing burdens on the
basis of invidious religious discrimination. See, e.g., Church of the Lukumi Babalu Aye, Inc. v.
City of Hialeah, 508 U.S. 520, 532 (1993) (prohibiting government action that “discriminates
against some or all religious beliefs or regulates or prohibits conduct because it is undertaken for
religious reasons”). The fact that nearly all of those whom the Board has targeted for
cancellation are Jewish speaks for itself. See Yick Wo v. Hopkins, 118 U.S. 356 (1886).

18. Accordingly, Plaintiffs have brought this action pursuant to 42 U.S.C. § 1983 and
the Voting Rights Act of 1965 to recover for their injuries and their attorneys’ fees, and to enjoin
the BOE against any future effort to impose discriminatory burdens on Plaintiffs and other
members Bloomingburg’s Hasidic Jewish community who seek to exercise their fundamental
constitutional right to vote in Sullivan County.

PARTIES

19. Plaintiffs are Hasidic Jewish voters who registered to vote in Bloomingburg with

the Sullivan County Board of Elections and who are qualified to vote in the Village of

Bloomingburg, New York. Having successfully registered at their addresses in Bloomingburg,
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 8 of 66

Plaintiffs’ existing voter registrations constitute “presumptive evidence of their residence for
voting purposes” under New York State law. Carney v. Ward, 991 N.Y.S.2d 383, 384 (4th Dept.
2014) (internal citations omitted).

20. Plaintiff Moshe Smilowitz is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Smilowitz by cancelling his registration status in advance of the March 18, 2015 election.

21. Plaintiff Abraham Desser is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Desser
by cancelling his registration status in advance of the March 18, 2015 election.

22. Plaintiff Mindy Desser is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Desser
by cancelling her registration status in advance of the March 18, 2015 election.

23. Plaintiff Rivka Desser is a resident of Bloomingburg, New York. She is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Desser by
cancelling her registration status in advance of the March 18, 2015 election.

24. ‘Plaintiff Samuel Desser is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Desser
by cancelling his registration status in advance of the March 18, 2015 election.

25. Plaintiff Zira G. Desser is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Desser

by cancelling her registration status in advance of the March 18, 2015 election.
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 9 of 66

26. Plaintiff David Friedman is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Friedman by cancelling his registration status in advance of the March 18, 2015 election.

27. Plaintiff Esther Goldberg is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms.
Goldberg by cancelling her registration status in advance of the March 18, 2015 election.

28. Plaintiff Meir Goldberg is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Goldberg by cancelling his registration status in advance of the March 18, 2015 election.

29. Plaintiff Menachem Goldberg is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Goldberg by cancelling his registration status in advance of the March 18, 2015 election.

30. _—_‘ Plaintiff Zvi Goldberg is a resident of Bloomingburg, New York. He is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Goldberg by
cancelling his registration status in advance of the March 18, 2015 election.

31. Plaintiff Lipa Goldstein is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Goldstein by cancelling his registration status in advance of the March 18, 2015 election.

32. | Plaintiff Hershel Green is a resident of Bloomingburg, New York. He is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Green by

cancelling his registration status in advance of the March 18, 2015 election.
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 10 of 66

33. Plaintiff Abraham Greenfield is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Greenfield by cancelling his registration status in advance of the March 18, 2015 election.

34. ‘Plaintiff Hendel Greenfield is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms.
Greenfield by cancelling her registration status in advance of the March 18, 2015 election.

35. Plaintiff Aron Karpen is a resident of Bloomingburg, New York. He is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Karpen by
cancelling his registration status in advance of the March 18, 2015 election.

36. Plaintiff Berl Karpen is a resident of Bloomingburg, New York. He is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Karpen by
cancelling his registration status in advance of the March 18, 2015 election.

37. Plaintiff Esther Karpen is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Karpen
by cancelling her registration status in advance of the March 18, 2015 election.

38. Plaintiff Feigy Karpen is a resident of Bloomingburg, New York. She is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Karpen by
cancelling her registration status in advance of the March 18, 2015 election.

39. Plaintiff Pearl Karpen is a resident of Bloomingburg, New York. She is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Karpen by

cancelling her registration status in advance of the March 18, 2015 election.

10
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 11 of 66

40. Plaintiff Rachel Karpen is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Karpen
by cancelling her registration status in advance of the March 18, 2015 election.

41. _ Plaintiff Shemaya Karpen is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Karpen
by cancelling his registration status in advance of the March 18, 2015 election.

42. Plaintiff Isaac Kohn is a resident of Bloomingburg, New York. He is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Kohn by
cancelling his registration status in advance of the March 18, 2015 election.

43. Plaintiff Yaacov M. Sebbag is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Sebbag
by cancelling his registration status in advance of the March 18, 2015 election.

44. Plaintiff Borech Stein is a resident of Bloomingburg, New York. He is qualified
and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr. Stein by
cancelling his registration status in advance of the March 18, 2015 election.

45: Plaintiff Sheindel Stein is a resident of Bloomingburg, New York. She is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Ms. Stein
by cancelling her registration status in advance of the March 18, 2015 election.

46. Plaintiff Joseph S. Wasserman is a resident of Bloomingburg, New York. He is
qualified and registered to vote in Bloomingburg. Defendants seek to disenfranchise Mr.
Wasserman by cancelling his registration status in advance of the March 18, 2015 election. |

47. Defendants Ann Prusinski and Rodney Gaebel are the two Commissioners of the

Board of Elections. The Board of Elections is responsible, pursuant to Article 5 of the Election

11
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 12 of 66

Law, for the registration and enrollment of voters within Sullivan County, New York; and,
pursuant to § 15-104 of the Election Law, for conducting all village elections within the Village
of Bloomingburg, New York.

| JURISDICTION AND VENUE

48. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and § 1367.

49. Venue in the Southern District of New York is based upon 28 U.S.C. § 1391(b).
All Defendants reside in and the events or omissions giving rise to this action occurred in this
District.

FACTUAL BACKGROUND

50. This action arises out of efforts by government actors in Sullivan County to
deprive Hasidic Jews of their constitutional rights to vote. That effort is part of a larger scheme
by government actors in Bloomingburg and Mamakating to discriminate against Hasidic Jews, to
discourage them from moving to Bloomingburg, and to obstruct projects and religious
institutions that they believe might attract Hasidic Jews to the area.

51. The anti-Semitic animus in Bloomingburg is unmistakable. In the Village of
Bloomingburg, on at least five separate occasions last summer, an individual broke the windows
of Jewish-owned businesses in frightening acts of vandalism. Adjacent to the Villages of
Chestnut Ridge, a planned new housing development, a landowner erected a 20-foot tall, wooden
cross informing new Hasidic residents that they are unwelcome. Angry protesters have hectored
and cursed at Orthodox Jewish women as they push babies in strollers through the public streets.
One of the RCC’s founders has admitted that the opposition to the Villages of Chestnut Ridge

began only after residents learned that “the developer planned a Hasidic community.” And

12
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 13 of 66

another RCC founder has been elected as Town Supervisor for the purpose, in his words, of
seeking “to stop the Jewish infiltration.”

52. This Court currently has in front of it a civil rights action brought against
Bloomingburg and Mamakating officials on account of their unlawful efforts to obstruct
developments in those municipalities based upon the religion of their owners, tenants, or
expected owners and tenants. See Amended Complaint (Dkt. No. 43), Bloomingburg Jewish
Educational Center v. Village of Bloomingburg, NY, No. 7:14-cv-07250-KBF (S.D.N.Y. Nov.
26, 2014).

53. In addition, the anti-Semitism in the region has manifested itself in the Pine Bush
School District, which includes Bloomingburg. On March 28, 2012, Jewish parents brought a
lawsuit against Pine Bush for failing to stop rampant religious discrimination against Jewish
public school students. See Complaint (Dkt. No. 25), Eccleston v. Pine Bush Central School
Dist., No. 7:12-cv-2303-KMK (S.D.N.Y. Mar. 28, 2012). Plaintiffs allege that the students had
suffered both physical and psychological abuse in the form of relentless anti-Semitic
discrimination, harassment, and bullying by other students, without any action by school officials
to protect them.

54. The U.S. Attorney for the Southern District of New York has opened an
investigation into these allegations of anti-Semitism and filed a brief in support of the Plaintiffs
on summary judgment. See Benjamin Weiser, U.S. Investigates Anti-Semitism Claims at Pine
Bush Schools, N.Y. TIMES, Nov. 13, 2013, available at http://www.nytimes.com/2013/1 1/14/
nyregion/us-investigates-anti-semitism-claims-at-pine-bush-schools.html. This Court recently
denied the defendants’ motions for summary judgment in that case and directed the parties to

proceed to trial on the majority of the plaintiffs’ claims

13
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 14 of 66

A. Town and Village Officials Seek To Dissolve Bloomingburg.

55. Beginning in 2006, Mamakating and Bloomingburg began the approval process
for Chestnut Ridge, a planned community that will contain 396 townhouses and promises to
revitalize what had previously been a depressed area in Sullivan County. For years, the Town
and Village strongly supported the development at Chestnut Ridge. In early 2012, however,
rumors arose that Hasidic Jews might purchase townhouses in that development, and anti-
Hasidic sentiment has intensified as Bloomingburg’s Hasidic Jewish population has grown.

56. The emergence of these rumors dramatically changed community sentiment.
Soon thereafter, a group of anti-Hasidic residents organized themselves as the “Rural
Community Coalition,” with the avowed purpose of preserving the “rural character” of the area
and opposing the Chestnut Ridge development. Over the past three years, the RCC and its allies
have tried in a number of ways to block developments in Bloomingburg that they believe are
affiliated with Orthodox Jews, and many of those actions are the subject of the pending
Bloomingburg Jewish Education Center action.

57. In the summer of 2014, the RCC and public officials in Bloomingburg and
Mamakating initiated a petition for a referendum vote on whether the Village of Bloomingburg
should be dissolved. If the Village of Bloomingburg dissolves, then the Town of Mamakating
would assume control over all affairs previously conducted by the Village. The dissolution
supporters hope that dissolving Bloomingburg would block further development at Chestnut
Ridge and on other projects believed to serve Hasidic Jews. At a minimum, dissolution would
dilute the vote of the Hasidic Jewish population and ensure that the current public officials

remain in power.

14
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 15 of 66

58. The Village Board scheduled the dissolution referendum vote for a Special
Election on September 30, 2014, during the Jewish High Holy Days, in the ten-day period of
time between Rosh Hashanah and Yom Kippur. These holidays signify the most sacred time of
the year in the Jewish faith. Strictly observant Hasidic Jews attend synagogue and focus on
prayer for the duration of these holidays. The Village appears to have scheduled the dissolution
referendum at that time in the hope that the Hasidic Jews of Bloomingburg would be distracted
. by their religious observances from voting in the referendum vote. |

B. Plaintiffs’ Voter Registrations Are Challenged Days Before the September
2014 Special Election. ,

59. In the week leading up to the Special Election, Anita M. Hoppe, with the help of
others affiliated with the RCC, filed with the BOE, pursuant to Election Law § 5-220, affidavits
challenging the registrations of 194 voters in Bloomingburg (the “Challenge Affidavits”). The
Challenge Affidavits used boilerplate language and did not attest to any personal knowledge that
the challenged voters did not reside at the addresses on the voter rolls. Instead, the Challenge
Affidavits contain vague, inaccurate, and/or contradictory observations, essentially limited to a
superficial description of the physical condition of the challenged voters’ residences (e.g.,
description of house lighting, vehicles in driveway, window coverings, yard conditions, etc.),
apparently made by members of the RCC while spying on challenged voters’ residences over
several weeks. None of the Challenge Affidavits included any information that could provide
the BOE with a reason to believe that the challenged voters were not qualified to vote in Sullivan

County. l

 

Tn fact; some of the affidavits actually corroborate that the challenged voters reside at their
given address. For example, several affidavits reference vehicles that are registered to the
challenged voters residing at the address where the vehicles were purportedly observed.

15
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 16 of 66

60. Although the Challenge Affidavits do not include any observations after
September 14, 2014, the Affidavits were not submitted to the Board of Elections until September
24, 25, or 26, mere days before the September 30 Special Election. It appears that Ms. Hoppe
and her supporters waited to file these affidavits until the eve of Rosh Hashanah and just days
before the election. Ms. Hoppe and her supporters evidently intended to frustrate Plaintiffs’
ability to respond to the Challenge Affidavits before the Special Election.

61. Of the 194 Challenge Affidavits, 172 challenged the registration of voters of
Hasidic Jews. Eleven challenged Orthodox Jewish voters who were associated with the Chestnut
Ridge development. Although the challenges were frivolous and patently discriminatory in
nature, the BOE elected to open an investigation into each and every challenge.

62. Starting on September 26, 2014, the Friday before the Special Election, the BOE
began to notify challenged voters that their registration status was in question. The notice came
by certified mail and included a challenged voter Questionnaire (the “Questionnaire”) that the
BOE would purportedly use to verify the eligibility of the voter to remain registered at their
current registered address. The mailings, however, did not comply with state law, Election Law
§ 5-402, which sets forth the actual procedures and notices pursuant to which a board of election
could cancel any voter’s registration.

63. The Questionnaire imposed on voters with presumptively valid registrations the
burden of proving their residency beyond the standard required by any state law and required
them, under penalty of perjury, to complete a detailed 26 question form asking a host of
irrelevant questions about the voters’ prior residences, family status, employment history, and so

on.

16
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 17 of 66

64. The Questionnaire asked the voters (i) to identify any other properties that the
voter owns, rents, or occupies; (ii) to identify how long the voter has owned, rented or occupied
his residence; (iii) to identify how often the Bloomingburg residence has been used over each of
the past six years; (iii) to provide lease documents that would verify tenancy; (iv) to identify the
voter’s marital status; (v)to identify the address on the voter’s driver’s license, vehicle
registration, and insurance card, and to provide the BOE with copies of all of those documents;
(vi) to identify any social clubs or social organizations in Sullivan County of which the voter is a
member; (vii) to identify whether the voter had children, and if so, the ages of the children and
where they attend school; (vii) to identify whether the voter was employed or owned his own
business, the location of that business, and the nature of the voter’s employment; and
(viii) whether the voter disagrees with any of the factual assertions in the Challenge Affidavit.

65. On information and belief, the BOE created this onerous Questionnaire for the
sole purpose of suppressing the votes of registered Hasidic Jewish residents. Plaintiffs are not
aware of any other county in New York that employs a questionnaire for challenged voters that
bears any resemblance to that of Sullivan County’s. To take one analogous example, the
neighboring county of Orange County, New York employs a questionnaire that asks challenged
voters to answer five simple questions concerning their current residence and their prior voter
registrations, asks for no documents, and can be completed in under a minute.

C. The Anti-Hasidic Movement Brings Legal Action in Sullivan County To
Ensure That the BOE Disenfranchises Hasidic Jews.

66. On September 26, 2014, two days after Ms. Hoppe filed the first Challenge
Affidavits, the anti-Hasidic challengers commenced an action in New York state court to
sequester all votes that the challenged voters would cast during the Special Election. The

challengers proposed to seal each challenged ballot and to mark each envelope with the name

17
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15« Page 18 of 66

and address of the voter, so that the court could review the validity of the voter registrations in
question. See Francis v. Prusinski, No. 2014-2294 (Sup. Ct. Sullivan County). The challengers
did not name the challenged voters as parties to the Order to Show Cause proceeding. On
September 29, 2014, the day before the Special Election, the New York court granted the Order
to Show Cause and required that the challenged ballots be sealed and delivered for his review.

67. The New York court also ordered that all Bloomingburg voters in the Special
Election would vote by affidavit ballot. This was contrary to New York election law. See
Delgado vy. Sunderland, 97 N.Y.2d 420, 423 (2002) (explaining that any action the trial court
takes regarding an election must be expressly authorized and supported by the state’s Election
Law statute). To vote by affidavit ballot, the voter must sign an affidavit that will be returned to
the BOE, along with the ballot itself, for a determination as to its validity. By statute, an
affidavit ballot is used when a would-be voter does not appear on the rolls or has not provided an
approved form of ID for a first-time voter, neither of which apply here. N.Y. Elec. §§ 8-302, 8-
303.

68. By contrast, the Election Law prescribes that if a voter’s registration has been
challenged, the voter may take a “Qualification Oath,” administered by the election inspector at
the poll, acknowledging that “‘all the statements you have made to the board have been true and
that you understand -that a false statement is perjury and you will be guilty of a misdemeanor.”
N.Y. Elec. §§ 5-220(2), 8-502, and 8-504(3). Upon taking the oath, New York state law
unequivocally provides that the vote must be counted. N.Y. Elec. § 8-504.

69. Accordingly, the New York state court lacked the legal authority to order the

challenged voters or the entire population of Bloomingburg to vote by affidavit ballots. The

18
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 19 of 66

court’s error was invited by the RCC’s eleventh-hour petition, which asked the New York court
to take emergency action a day before the election.

70. On September 30, 2014, 69 of the 194 challenged voters, including named
Plaintiffs, voted in the Special Election. On the day of the Special Election, September 30, 2014,
Defendants did not allow Plaintiffs to take the Qualification Oath and vote, but instead required
Plaintiffs to vote by affidavit ballots, which were then segregated pending a future judicial

determination.

D. The Sheriff Investigates the Residency of the Challenged Voters and
Determines That Many Indeed Reside at Their Listed Address.

71. Following the Special Election, the BOE asked the Sullivan County Sheriff to
investigate the challenged voters, including by interviewing the challenged voters and seeking to
examine their homes. In October 2014, the Sheriff conducted investigations into the Challenged
Affidavits. The Sheriff recorded the results of each investigation on a “Voter’s Check Card,”
which indicated, among other things, whether the investigating officer was “satisfied that the
Registrant resides at the given address.” |

72. For example, at approximately 4 p.m. on October 13, 2014, Officer Luis Alvarez
arrived at 8 Winterton Road in Bloomingburg and asked to see Plaintiff Moshe Smilowitz. The
officer certified that the residence “appeared to be physically capable of occupancy.” After
asking a few questions regarding the status of other members of Mr. Smilowitz’s family, the
officer attested that he was satisfied Mr. Smilowitz lived at 8 Winterton Road.

73. To take another example, on October 15, 2014, at approximately 4 p.m., Officer
Eric Chaboty arrived at 14 Winterton Road in Bloomingburg and asked to see Plaintiff Samuel —

Desser. The officer concluded that the residence appeared physically capable of occupancy.

19
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 20 of 66

After interviewing Mr. Desser, the officer determined he was satisfied Samuel Desser lives at 14
Winterton Road.

74. Based on documents received from a Freedom of Information Law request, the
Sheriff appears to have investigated most, if not all, of the challenged voters. The Sheriff was
able to confirm to his satisfaction that a number of the challenged voters lived at the residence on
their voter roll. In other instances, the Sheriff was not able to confirm residency, not because the
Sheriff found that they did not reside at the address, but simply because they were not present
when the officer arrived to inspect their homes.

75. While this investigation was ongoing, on November 4, 2014, New York State
conducted a general election for federal and state officers, including four members of Congress
and the Governor of New York, Many challenged voters voted in the election in Bloomingburg,
including 23 of the named Plaintiffs. Neither the RCC nor the BOE purported to challenge any
of the votes in that election, demonstrating that Defendants’ concern is political control of
Bloomingburg, not any genuine belief or concern for Plaintiffs’ residences.

E. The Board of Elections Grants Most of the Challenges.

76. On November 19, 2014, the BOE issued a Notice of Determination (“November
Determination”) granting 188 of the 194 challenges. The November Determination recites that
the BOE sent out 194 questionnaires and that 68 questionnaires were returned to the Board of
Elections. The BOE stated that it would “negate [the voters’] right to have their vote counted” in
the Special Election and place the voters on “inactive” status. In the November Determination,
the Board of Elections purported to annul the votes of 63 of the 69 challenged voters who had
voted in the Special Election, including Plaintiffs. The BOE’s reasoning was neither clear nor

consistently applied.

20
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 21 of 66

77. The BOE grossly overlooked obvious and important information evidence that
many of the 194 challenged voters remained properly registered and qualified to vote in the
Village of Bloomingburg. As to Plaintiffs, the Board of Elections failed to consider that nearly
all of them: (1) appeared in-person to vote during the Special Election and, under the penalty of
perjury, executed an affidavit ballot confirming their qualifications to vote in the Village of
Bloomingburg; (2) completed and executed, under penalty of perjury, the questionnaires; and
(3) voted in-person during the November general election after taking an oath, under penalty of
perjury, re-verifying their continued qualifications to vote in the Village of Bloomingburg. The
BOE’s omission of any discussion of such material information in the November Determination
betrays its true agenda.

78. The BOE described itself as “confronted with an apparently mobile population,”
expressly recognizing that it had singled out the Hasidic Jewish community as a class. Even

| though the Board had entertained challenges to 194 voters brought by a handful of individuals
affiliated with the RCC, the Board deemed it suspicious that the challenged voters had
themselves responded in an organized fashion, questioning the fact that the questionnaires had
been collected by individuals affiliated with Bloomingburg’s Jewish community and returned
“over a period of about 7-12 days in 40 separate large manila envelopes.”

79. The Board admitted that New York election law broadly permits New York
residents to vote in their residency of choice, but then made excuses to construe those rules
narrowly to avoid counting Hasidic Jewish votes. For instance, the Board admitted that what it
called “the vagaries of NYS Election law do allow voters with multiple residences to choose one
from which they wish to vote,” but then found that it would not count those votes absent

“significant as well as verifiable ties to the address and community that they so designate.”

21
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 22 of 66

80. Likewise, the Board admitted that “Election law does permit students to register
from their temporary/scholastic address,” but refused to apply that rule to Hasidic Jewish
students residing in Bloomingburg, because that “in our opinion this should not pertain to
schools without accreditation or a fixed address that holds classes on what can best be described
as a capricious schedule.” The Board did not explain why accreditation should matter or the
basis for its opinion that the Hasidic Jewish students were not studying at a school with a fixed
address.

81. Notably, the BOE specifically ignored the Sheriff’s attestations that many of the
challenged voters actually lived at the residences in question. The BOE stated in general terms
that it had relied upon the results of the Sheriff's investigation, which had been conducted at the
BOE’s own behest, but it in fact did so only when the results favored the cancellation of the vote.
Where the Sheriff could not confirm whether the voter resided at the given address, the BOE
treated that judgment as proof the voter did not live in Bloomingburg. Where the Sheriff
believed the voter resided at the address, the BOE took the position that “without the submission
of ANY proof whatsoever that the challenged voter has met the minimum residency requirement,
the challenge shall be GRANTED.”

82. The BOE also purported to cancel votes on the ground that certain residences did
not have certificates of occupancy on file with the Village. Many buildings in Bloomingburg
lack such certificates of occupancy, but have nonetheless been occupied by voters for decades.
Whether an occupied residence has, or needs, a certificate of occupancy is a matter for the
Village Building Code, not for the Election Law. Where a voter actually lives in Bloomingburg
in a physically occupied residence, he or she is entitled to vote. There is no legal basis for the

conclusion that the absence of a certificate of occupancy deprives a resident of the right to vote.

22
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 23 of 66

There is no indication that the BOE ever before went through the Bloomingburg voter rolls to
determine whether longstanding residents have certificates of occupancies for their homes. This
newfound barrier was invented exclusively for disenfranchising Hasidic Jewish voters.’

83. | The BOE’s determination plainly would have resulted in the disenfranchisement
of lawful Bloomingburg residents. For example, the BOE cancelled the voter registrations of
seven members of the Smilowitz family (Plaintiff Moshe, Devorah, Hindy, Miriam, Shulem,
Yidel, and Zev), all. of whom then resided at 8 Winterton Road. In completing the
Questionnaire, all seven submitted the lease to their home. The BOE also had evidence that
Devorah, Hindy, and Zev were employed in Bloomingburg. Moshe attested that he is in
Bloomingburg daily. The Sheriff concluded that all seven members of the Smilowitz family
lived at 8 Winterton Road. Nevertheless, the BOE purported to cancel the registration of all
seven members of the Smilowitz family.

84. To take another example, the Sheriff confirmed that Plaintiff Joseph S.
Wasserman lived at 101 Main Street in Bloomingburg. The BOE nonetheless cancelled his voter
registration because of “Divorce pending/residing in basement apartment, Ken Nakdimen’s
nephew.” It is not clear how any of those factors would be relevant to his registration, other than
the fact of his residence in a basement apartment in Bloomingburg, which confirms his right to

vote.

 

* The BOE also made reference to controversy over Bloomingburg voter registrations from
March 2014, which it described as involving an “aura of sham.” The RCC’s challenges began
back in March 2014, and litigation over those registrations ensued in the state courts. That
litigation, however, was abruptly terminated after the FBI executed search warrants and opened
an investigation, thereby chilling the civil litigation over the March 2014 election and
terminating that litigation prior to any judicial findings on the allegations involved. The BOE’s
decisions in November and February, however, were based upon the administrative record
developed in response to the recent challenges, and therefore, it is not clear what relevance the
litigation in March 2014 would have to the Board’s recent actions.

23
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 24 of 66

85. | The BOE did not erect any such arbitrary barriers when it came to reviewing the
handful of non-Hasidic voters whose registrations had been challenged. For example, the BOE
denied the challenge to the voter registration of Melissa Saunders, who is not a Hasidic Jew. Ms.
Saunders was evidently challenged because she had previously lived and registered to vote at 8
Winterton Road. But, the anti-Hasidic challengers know she no longer lives there, since 8
Winterton Road is now the home of the Smilowitz family.

86. In contrast to appearing at her home, the Sheriff called Ms. Saunders on the
telephone regarding the challenge, and Ms. Saunders explained that she had moved from 8
Winterton Road to 23 Amberlite Road. Based upon this information, the BOE denied the
challenge to Ms. Saunders’s registration because she “remains an active voter in the Village.”
By stark contrast, Hasidic Jewish voters who are “active” voters in Bloomingburg, whose
residence was physically confirmed by the Sheriff, and who swore to their residence under
penalty of perjury fell short of the BOE’s standards.

F. The New York Court Orders the Votes To Be Counted in the Special
Election.

87. In December 2014, a group of challenged voters filed an Article 78 proceeding to
challenge the BOE’s unlawful acts in New York state court. See Matter of Berger, et al. v.
Prusinski, et al., Index No. 2716-2014, (Sup. Ct., Sullivan County). Petitioners in the Berger
Action alleged that the BOE’s November Determinations to cancel their September votes and to
place their voter registrations in “inactive” status were arbitrary and capricious, contrary to law,
and constituted a clear abuse of discretion.

88. On December 19, 2014, the New York Supreme Court ruled that the BOE had
acted unlawfully in seeking to cancel the votes from the Special Election. See Order, Berger,

No. 2716-2014 (N.Y. Sup. Ct. Dec. 19, 2014). The BOE lacked the authority to cancel the votes

24
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 25 of 66

of registered voters who had voted by affidavit in the Special Election. Jd. Accordingly, the
state court ruled that the challenged votes should be counted and that the results of the Special
Election should be certified. The 69 challenged votes were thus counted, and the dissolution
failed by the margin of 107 to 85.

G. Defendants Seek To Disenfranchise Hasidic Jewish Voters Prior To The
March 2015 Election.

89. Undeterred by the New York court’s order, the BOE tried again to disenfranchise
Hasidic Jewish voters in Bloomingburg. On January 16, 2015, the BOE issued Notices of Voter
Registration Cancellation (the “Cancellation Notices”) to approximately 184 voters, over 160 of
whom are Hasidic Jews. The notices indicated that the Board intended to cancel their voter
registrations and to deprive them of their right to vote. The noticed voters overlap substantially
with the originally challenged voters as well as those whom the BOE unsuccessfully sought to
disenfranchise in November. All named Plaintiffs received Cancellation Notices.

90. The Cancellation Notices provide two means for noticed voter to respond. First,
noticed voters may return “documentation of county residency in writing.” The BOE set the
arbitrary deadline of February 2, 2015 for the submission of any additional documentation
(which was subsequently extended to February 6). Second, noticed voters could appear and be
heard before the BOE Commissioners on either January 28 or January 29, between 11 a.m. and3 -
p.m. These narrow windows fell in the middle of the workday on a Wednesday and Thursday.

91. Section 5-402(2) of the Election Law provides that a voter must be notified that
he/she “may appear before the board or answer in writing by mail, stating the reasons why his
registration should not be cancelled.” The statute expressly indicates that a voter may state the

reasons why his registration should not be cancelled on the postage paid return card

25
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 26 of 66

accompanying the notice. By contrast, the Cancellation Notices impose burdensome evidentiary
requirements that have no foundation in New York Election Law.

92. | The BOE held the first hearing on J anuary 28 and, because of a winter storm, held
the second on February 4. Given the limited and inconvenient times set by the Board of
Elections, 21 of the voters who received the notices were able personally to appear at the
hearings.

93. At the hearings, the voters were invited to appear before the BOE, explain their
residency status, and also provide evidence concerning family members and others who live in
Bloomingburg. While the statements were not sworn, New York law imposes criminal penalties
for false statements made in an effort to support voter registration. See N.Y. Elec. §§ 17-104;
17-132; N.Y. Penal §§ 175.35, 210.45. At no point during these hearings did either
Commissioner ask any noticed voter even a single question.

94. The voters also presented more than 800 pages of documents to the BOE.’ These
documents included affidavits,.utility bills, drivers’ licenses, and leases attesting to the voters’
residency. Plaintiffs all submitted the Questionnaires to the BOE and many submitted additional
evidence verifying their residency in Bloomingburg.

H. Defendants Prospectively Cancel Voter Registrations Against The
Overwhelming Weight of the Evidence.

95. On February 27, 2015, the Board of Elections released a perfunctory Notice of
Determination (the “February Determination”), which purports to cancel all but 28 of the 184

noticed voter registrations, including all of named Plaintiffs’ voter registrations.’ While the

 

> The February Determination lists 250 voters and cancels 205 of them. Most of the additional
challenged voters beyond the 184 in the January notice appear to have come from a separate
challenge involving people who no longer live in Bloomingburg. Most of those voters did not
respond to a separate questionnaire from the BOE, and the BOE evidently granted the challenges
on that basis.

26
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 27 of 66

November Determination had provided sparse and arbitrary reasons for cancelling votes, the
February Determination does not provide any reason at all. The February Determination consists
of a cover letter and a table listing the names of the voters who were issued a Notice of
Cancellation. The BOE indicated its determination with respect to each individual voter by
checking a box labeled either “ACTIVE” or “TO BE CANCELLED”.

96. The February Determination fails to comply with the Election Law, which
requires the BOE to explain the reason for any cancellation of voter registration. N.Y. Elec. § 5-
402(3). The February Determination does not provide any reasons for the BOE’s decisions, nor
does it purport to explain how or why the BOE ignored the volumes of evidence supporting the
existing registrations.

97. Upon information and belief, from 2004 to 2014, the Board cancelled 528 voter
registrations in Sullivan County. Merely two months into 2015, the Board has cancelled 205
Bloomingburg voter registrations, nearly 40% of the number of registrations cancelled in the
entire county over the last decade. These numbers plainly demonstrate the extraordinary and
irregular actions of the BOE. |

98. Rather than address the evidence submitted, the BOE plainly disregarded the
evidence in its custody that Plaintiffs remained properly registered and qualified to vote in the
Village of Bloomingburg. Indeed, as to each named Plaintiff, the evidence overwhelmingly
confirmed residency in Bloomingburg:

A. Plaintiff Moshe Smilowitz voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Moshe Smilowitz asserted, “[t]he
affidavit does not refer to me. I don’t understand the allegations made as to why I am not

a voter. No one challenged my vote in the primary.” He also asserted, “[t]here is no

27
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 28 of 66

basis to challenge me or my right to vote. I work in Bloomingburg and am present in the
village every day.” Moshe Smilowitz submitted his New York State driver’s license.
Officer Luis Alvarez investigated and confirmed that Moshe Smilowitz had resided at 8
Winterton Road since February 2014. Nevertheless, in the November Determination, the
BOE granted the challenge against him and purported to annul his vote. The BOE’s
justification for cancelling Moshe Smilowitz’s vote included, “[n]o compelling proof of 7
month residency was submitted.” Moshe Smilowitz appeared ‘before the BOE on
February 4, 2015. Moshe Smilowitz presented utility bills, insurance bills, and his New
York State driver’s license with a Bloomingburg address. In the February Determination,
the BOE cancelled Moshe Smilowitz’s voter registration without explanation.

B. Plaintiff Abraham Desser voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Nevertheless, the BOE granted the
challenge to his voting registration and purported to annul his vote in the September
election. The BOE justified cancelling his vote by asserting, “Abraham is a student,” and
that he did not offer proof of residency beyond the sworn affirmation. Abraham Desser
provided an affirmation to the BOE on February 2, 2014. In the February Determination,
the BOE cancelled Abraham Desser’s registration without explanation.

C. Plaintiff Mindy Desser voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Mindy Desser resides with Plaintiff
Samuel Desser at 14 Winterton Road. Officer Eric Chaboty investigated Mindy Desser’s
residency on October 15, 2014. Mindy Desser was not present, but Abraham Desser told
the officer that Mindy Desser resided at the address. Officer Chaboty determined the

residence was capable of physical occupancy. Nevertheless, the BOE granted the

28
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 29 of 66

challenge to Mindy Desser’s voting registration and purported to annul her vote in the
November Determination. The BOE based cancelling her vote in part on the fact that her
home did not have a Certificate of Occupancy. In the February Determination, the BOE
cancelled her registration without explanation.

D. Plaintiff Rivka Desser voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Rivka Desser resides with Plaintiff
Abraham Desser at 12 Hickory Court. The BOE granted the challenge to Rivka Desser’s
voting registration and purported to invalidate her vote in the November Determination.
The BOE relied on the same reasoning used to deny Abraham Desser’s registration,
specifically that “Abraham is a student,” and that neither offered proof of their residency
at 12 Hickory Court. Abraham Desser submitted an additional affirmation as to their
residency on February 5, 2015. In the February Determination, the BOE cancelled Ms.
Desser’s registration without explanation.

E. Plaintiff Samuel Desser voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Officer Eric Chaboty investigated and
concluded that Mr. Desser resided at 14 Winterton Road since January 2014. Officer
Chaboty noted that the residence did not have a Certificate of Occupancy, but determined
the residence was physically capable of occupancy. Nevertheless, the BOE granted the
challenge to Samuel Desser’s voting registration and invalidated his vote in the
November Determination. The BOE based its action in part on the absence of a
Certificate of Occupancy. Samuel Desser appeared before the BOE on February 4, 2014.
He supported his claim of residency with a New York State Driver’s License and

Registration reflecting his Bloomingburg address. Samuel Desser further submitted a

29
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 30 of 66

sworn affirmation on February 5, 2015. In the February Determination, the BOE
cancelled Samuel Desser’s registration without explanation.

F, Plaintiff Zira Desser voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Zira Desser resides with Plaintiff
Samuel Desser at 14 Winterton Road. Officer Eric Chaboty visited Zira Desser’s home
on October 15, 2014. Zira Desser was not present then, but Abraham Desser told Officer
Chaboty that she resided at the address. Officer Chaboty determined the residence was
capable of physical occupancy. Nevertheless, the BOE granted the challenge to Zira
Desser’s voting registration and invalidated her vote in the November Determination.
The BOE based its denial in part on the absence of a ‘Certificate of Occupancy. Samuel
Desser appeared before the BOE and stated that Zira Desser resided with him at 14
Winterton Road. In the February Determination, the BOE cancelled Zira Desser’s
registration without explanation.

G. Plaintiff David Friedman voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. On November 19, 2014, the BOE
granted the challenge to David Friedman’s voting registration and invalidated his vote in
the Special Election. The BOE based its denial of David Friedman’s vote on the
inconclusive results of the Sheriff’s investigation. David Friedman appeared before the
BOE on January 29, 2015 to establish his residence at 12 Hickory Court. David
Friedman’s sister, Hindy Smilowitz, also appeared before the BOE on January 29, 2015
to assert that David Friedman lived behind her residence at 12 Hickory Court. The BOE
nonetheless cancelled David Friedman’s registration on February 27, 2015 without

explanation.

30
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 31 of 66

H. Plaintiff Esther Goldberg voted by affidavit in the Special Election.
Officer Victor D. Zayas investigated her residence and based his conclusion that Esther
Goldberg did not reside at the address on an interview with a neighbor who “viewed the
residence when the door was left open” and “only observed a desk and states that the
premises looks like an office.” Esther Goldberg submitted to the BOE a completed
Questionnaire on October 8, 2014. In response to the initial challenge, Esther Goldberg
asserted, “someone who passes by my house a few times can’t really determine that |
really live there, they should of knocked on the door and I would have invited them in.
My father [chose] a residence close to his daily work in Bloomingburg, NY. I live with
my parents and as an American citizen I can vote where I live.” Nevertheless, the BOE
granted the challenge to Esther Goldberg’s voting registration and invalidated her vote in
the November Determination. The BOE based its annulment of Esther Goldberg’s vote
on her failure to provide a Certificate of Occupancy. To further establish her residency at
105 Main Street, Esther Goldberg submitted to the BOE her residential lease at 105 Main
Street and a sworn affirmation on February 5, 2015. In the February Determination, the
BOE nonetheless cancelled Esther Goldberg’s registration without explanation. |

I. Plaintiff Meir Goldberg voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. In the November Determination, the .
BOE granted the challenge to his voting registration and invalidated his vote in the
Special Election. The BOE based its annulment of Meir Goldberg’s vote in part on his
failure to provide a Certificate of Occupancy. To establish his residence, Meir
Goldberg’s father, Judah Goldberg, submitted a lease agreement for 105 Main Street and

a bank statement. Meir Goldberg further submitted an affirmation on February 5, 2015.

31
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 32 of 66.

Nevertheless, the BOE cancelled Meir Goldberg’s registration on February 27, 2015
without explanation.

J. Plaintiff Menachem Goldberg voted by affidavit in the Special Election
and submitted to the BOE a completed Questionnaire. In the November Determination,
the BOE granted the challenge to Menachem Goldberg’s voting registration and
invalidated his vote in the Special Election. The BOE based its cancellation of
Menachem Goldberg’s vote in part on his failure to provide a Certificate of Occupancy.
To establish his residence, Menachem Goldberg’s father, Judah Goldberg, submitted a
lease agreement for 105 Main Street and bank statement. Menachem Goldberg further
submitted an affirmation on February 5, 2015. Nevertheless, in the February
Determination, the BOE cancelled Menachem Goldberg’s registration without
explanation.

K. Plaintiff Zvi Goldberg voted by affidavit in ‘the Special Election and
submitted to the BOE a completed Questionnaire. In the November Determination, the
BOE granted the challenge to Zvi Goldberg’s voting registration and purported to
invalidate his vote in the Special Election. The BOE based its cancellation of his vote in
part on his failure to provide a Certificate of Occupancy. To establish his residence, Zvi
Goldberg’s father, Judah Goldberg, submitted a lease agreement for 105 Main Street and
bank statement. Zvi Goldberg further submitted an affirmation on February 5, 2015.
Nevertheless, in the February Determination, the BOE cancelled Zvi Goldberg’s
registration without explanation.

L. Plaintiff Lipa Goldstein voted by affidavit in the Special Election and

submitted to the BOE a completed Questionnaire. In response to the initial challenge,

32
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 33 of 66

Lipa Goldstein asserted, “[i]t is all general complaints and has nothing to do with me
specifically. What does it have to do with me at all.” He further stated, “[m]y basic right
to vote is being challenged and J live in Bloomingburg. I can come and go when I see
fit.” Lipa Goldstein also submitted a New York State Learner’s Permit. Nevertheless,
the BOE granted the challenge to Lipa Goldstein’s registration and purported to
invalidate his vote in the Special Election. The BOE based its cancellation of Lipa
Goldstein’s vote on the fact that Lipa Goldstein is a “student ‘staying with’ Chaim
Rosenbaum” and had a Brooklyn address on his learner’s permit. In the February
Determination, the BOE cancelled Lipa Goldstein’s registration without explanation.

M. Plaintiff Hershel Green submitted to the BOE a completed Questionnaire.
In response to the initial challenge, Hershel Green wrote, “I [dJon’t understand the
compla[int’s] connection to mef;]Jall general not about me” and further wrote, “I live and
work in [B]loomingburg for 8 months it is my basic right to vote here.” Hershel Green
also submitted his New York State driver’s license. Nevertheless, the BOE granted the
challenge to Hershel Green’s registration in the November Determination. The BOE
based its denial of Hershel Green’s constitutional rights on the fact that Hershel Green
worked in Bloomingburg, but had a driver’s license with a Monsey address; and the fact
that Hershel Green’s listed address did not have a Certificate of Occupancy. Mr. Green
appeared before the BOE and attested to his residency in Bloomingburg; he was not
subject to any cross-examination. Nonetheless, in the February Determination, the BOE
cancelled his registration without explanation.

N. Plaintiff Abraham Greenfield voted by affidavit in the Special Election

and submitted to the BOE a completed Questionnaire. In response to the initial

33
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 34 of 66

challenge, he asserted, “[t]he affidavit[’]s assertions are generic in nature. They have
nothing specific about me,” and further, “I am registered to live and vote in
Bloomingburg. The fact that my basic right to vote is being challenged is shocking.”
Officer Luis Alvarez investigated Mr. Greenfield’s residency on October 13, 2014 and
interviewed Mr. Greenfield’s father-in-law, Moshe Smilowitz. Officer Alvarez
determined the residence was physically capable of occupancy and that Mr. Greenfield
had resided there since February 2014. Nevertheless, the BOE granted the challenge his
registration and purported to invalidate his vote in the Special Election. The BOE based
this decision on his status as “‘a student with another residence in Brooklyn.” To establish
his residency, Abraham Greenfield submitted a residential lease agreement and a reply
card to the BOE. In addition, his wife’s parents appeared before the BOE on February 4,
2015 and attested that Mr. Greenfield resided at 8 Winterton Road with his wife.
Devorah Smilowitz, his mother-in-law, stated that Mr. Greenfield cold not attend the
hearing because his wife, Hendel Greenfield, was enduring a high-risk pregnancy. In the
February Determination, the BOE nonetheless cancelled Abraham Greenfield’s
registration without explanation.

O. Plaintiff Hendel Greenfield voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Officer Luis Alvarez investigated her
husband’s residency on October 13, 2014. Her father, Moshe Smilowitz, confirmed that
Hendel Greenfield was married to Abraham Greenfield. Officer Alvarez determined the
residence at 8 Winterton Road was physically capable of occupancy. Officer Alvarez
concluded that Hendel Greenfield’s husband, Abraham Greenfield, resided at 8 Winterton

Road since February 2014; he did not file a separate report for Hendel Greenfield.

34
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 35 of 66

Nevertheless, the BOE granted the challenge to Ms. Greenfield’s registration and
purported to invalidate her vote in the Special Election. The BOE justified the
cancellation of her vote by asserting, “Hendel is a teacher with a child going to school in
Brooklyn.” To establish Hendel’s residency, Abraham Greenfield submitted a residential
lease agreement and a reply card. In addition, Hendel Greenfield’s parents appeared
before the BOE on February 4, 2015 and asserted that she resided at 8 Winterton Road,
but could not attend the hearing because she was enduring a high-risk pregnancy. The
BOE nonetheless cancelled Hendel Greenfield’s registration on February 27, 2015
without explanation.

P. Aron Karpen voted by affidavit in the Special Election and submitted to
the BOE a completed Questionnaire. He supported his residency at 26 Winterton Road
with a New York State vehicle registration that listed his name and a Bloomingburg
address and his New York State driver’s license. Aron Karpen’s brothers, Chaim and
Zev Karpen, also produced documents to support Aron Karpen’s residency.
Nevertheless, the BOE granted the challenge to Aron Karpen’s registration and
invalidated Aron Karpen’s vote in the Special Election in the November Determination.
The BOE ignored the fact that Aron Karpen’s vehicle Registration listed his
Bloomingburg address and instead based its determination on the Brooklyn address on
his New York State driver’s license. Brothers Chaim and Zev Karpen also. appeared
before the BOE on January 29, 2015 to establish that they lived with sibling Aron Karpen
in the same Bloomingburg home. In the February determination, the BOE cancelled

Aron Karpen’s registration without explanation.

35
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 36 of 66

Q. Berl Karpen voted by affidavit in the Special Election and submitted to the
BOE a completed Questionnaire. He supported his residency at 26 Winterton Road with
documents provided by brothers Chaim Karpen and Zev Karpen with whom he lives. ©
Nevertheless, the BOE granted the challenge to Berl Karpen’s registration and
invalidated his vote in the Special Election in the November Determination. The BOE
based its cancellation of his vote on the assertion that the licenses with a Bloomingburg
address submitted by Chaim Karpen and Zev Karpen were insufficient. Chaim Karpen
and Zev Karpen later submitted insurance identification cards, a cell phone bill, and bank
statements containing their Bloomingburg address. Chaim and Karpen also appeared
before the BOE on January 29, 2015 to establish that they live with Berl Karpen in the
same Bloomingburg home. In the February Determination, the BOE nonetheless
cancelled Berl Karpen’s registration without explanation.

R. Plaintiff Esther Karpen voted by affidavit in the Special Election. Officer
Eric Chaboty investigated her residency at 26 Winterton Road and determined that the
residence was physically capable of occupancy, and that she had lived there since January:
2014. Esther Karpen also submitted to the BOE a completed Questionnaire. In it, she
asked BOE to consider the difficulty in submitting the document in a timely manner
given her observance of the Jewish high holidays. She also submitted a two-page
addendum directly responding to and rebutting arguments from the challenge affidavit,
further asserting, “Do not allow the hatred of individuals to make a mockery out of the
justice and equality I have come to expect in this country. I am confident that the BOE
will not repeat the same act of baseless discrimination in deciding this matter.”

Nevertheless, the BOE granted the challenge to Esther Karpen’s registration and

36
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 37 of 66

purported to invalidate her vote in the November Determination. The Notice of
Determination cancelling Esther Karpen’s vote does not specifically provide a basis for
the cancellation. Chaim and Zev Karpen appeared before the BOE on January 29, 2015
to establish that they lived in the same Bloomingburg home with their sister, Esther
Karpen, and provided certain documents to support her residency. In the February
Determination, the BOE cancelled Esther Karpen’s registration without explanation.

S. Plaintiff Feigy Karpen voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. She wrote, “I lived here for the past
nine months and can’t see a reason to be challenged” and further, “[people] spying on me
is an invasion of my privacy. I may leave my house whenever I want with people .. .
after me.” Feigy Karpen also submitted a New York State learner’s permit and brother
Chaim Karpen’s insurance card with a Bloomingburg address. Nevertheless, the BOE
cancelled Feigy Karpen’s registration and purported to invalidate her vote in the Special
Election. The BOE’s Notice of Determination justified cancelling her vote on the ground
that her learner’s permit had a Brooklyn address, and that the Sheriff did not interview
her. Brothers Chaim and Zev Karpen then appeared before the BOE on January 29, 2015
to establish that they lived in with sibling Feigy Karpen in the same Bloomingburg home.
In the February Determination, the BOE cancelled Feigy Karpen’s registration without
explanation.

T. Plaintiff Pearl Karpen voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Pearl Karpen supported her residency
at 26 Winterton Road with documents provided by brothers Chaim Karpen and Zev

Karpen on January 29, 2015. Nevertheless, the BOE granted the challenge to Pearl

37
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 38 of 66

Karpen’s registration and purported to invalidate Pearl Karpen’s vote in the Special
Election. The BOE did not specifically provide a reason for that action. Chaim and Zev
Karpen also appeared before the BOE on January 29, 2015 to establish that they lived
with their sister, Pearl Karpen, in the same Bloomingburg home. In the February
Determination, the BOE cancelled her registration, again without explanation.

U. Plaintiff Rachel Karpen voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. The BOE granted the challenge to
Rachel Karpen’s registration and invalidated Rachel Karpen’s vote in the November
Determination. The BOE did not specifically provide a reason for that action. Rachel
Karpen supported her residency at 26 Winterton Road with documents provided by
brothers Chaim and Zev Karpen, who also appeared before the BOE on January 26, 2015
and established they lived with her in the same Bloomingburg home. In the February
Determination, the BOE cancelled her registration without explanation.

V. Plaintiff Shemaya Karpen voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Officer Eric Chaboty investigated his
residency at 26 Winterton Road, determined that it was physically capable of occupancy,
and that Shemaya Karpen had resided there since January 2014. Nevertheless, the BOE
granted the challenge to her registration and invalidated his vote in the Special Election in
the November Determination. The BOE’s Notice of Determination justified cancelling
his vote on the ground that the sheriff's interview was “inconclusive.” This
determination directly conflicts with the investigation form signed by Officer Chaboty,

which concludes that Shemaya Karpen resided at the listed address. Despite this flagrant

38
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 39 of 66

discrepancy and oversight, the BOE again cancelled Shemaya Karpen’s registration in the
February Determination.

W. ‘Plaintiff Isaac Kohn voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Isaac Kohn wrote, “J am a full time
student in Bloomingburg, and a legal voter [b]y U.S. law . . . I am allowed to leave my
house when I want.” Nevertheless, the BOE granted the challenge to his registration and
purported to invalidate his vote in the Special Election. The BOE’s Notice of
Determination justified this action on the ground that he is a “[s]tudent residing at 137
Main Street” and the “address of parental home in Brooklyn on driver’s license.” In the
February Determination, the BOE cancelled Isaac Kohn’s registration without
explanation.

X. Plaintiff Yaacov M. Sebbag voted by affidavit in the Special Election and
submitted a completed Questionnaire to the BOE. In response to the challenge, Mr.
Sebbag wrote, “it has nothing to do with me, it is all general” and further asserted, “[I’ve]
been living here for about 3 months. I don’t know why my vote is challenged every time
I’m voting. I’m outraged that my fundamental [right] to vote is consistently questioned
on nothing real without any bases [sic].” Nevertheless, the BOE granted the challenge to
his registration and purported to invalidate his vote in the Special Election. The BOE
based its denial of Yaacov Sebbag’s registration in part on the fact that he submitted the
questionnaire on November 5, 2014, after the deadline, and that he was a student residing
at 137 Main Street. In the February Determination, the BOE canceled his registration

without explanation.

39
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 40 of 66

Y. Plaintiff Borech Stein voted by. affidavit in the Special Election and
submitted a completed Questionnaire. Officer Eric Chaboty investigated his residence at
10 Hickory Court, Apt. A, on or around October 8, 2014. Officer Chaboty interviewed
Borech Stein’s son, Naftula Stein, who advised Officer Chaboty that Borech and his wife
were not home. Officer Chaboty determined the residence was physically capable of
occupancy and that Borech Stein had resided there since April 2014. Nevertheless, the
BOE granted the challenge to his registration and purported to invalidate his vote in the
Special Election. The BOE based its cancellation of Borech Stein’s vote on the
unsubstantiated opinion that the signatures on licenses, questionnaires, and voter
registrations did not match. In the February Determination, the BOE cancelled Borech
Stein’s registration without explanation.

Z. Plaintiff Scheindel Stein voted by affidavit in the Special Election and
submitted to the BOE a completed Questionnaire. Officer Eric Chaboty investigated her
residency at 10 Hickory Court, Apt. A, on or around October 8, 2014. Officer Chaboty
interviewed her son, Naftula Stein, who advised the officer that Scheindel and her
husband were not home. Officer Chaboty determined the residence was physically
capable of occupancy and that Scheindel Stein resided there since April 2014.
Nevertheless, the BOE granted the challenge to her registration and purported to
invalidate her vote. The.BOE based its cancellation of her vote on the unsubstantiated
determination that the signatures on licenses, questionnaires, and voter registrations do
not match. In the February Determination, the BOE cancelled her registration without

explanation.

40
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 41 of 66

AA. Plaintiff Joseph S. Wasserman voted by affidavit in the Special Election
and submitted a completed Questionnaire to the BOE. In response to the challenge,
Joseph Wasserman wrote, “[due] to my pending divorce, I do not reside with my wife
and children ... my only permanent residence is at 101 Main Street, Bloomingburg New
York.” The Sheriff later confirmed Joseph Wasserman resided at 101 Main Street.
Nevertheless, the BOE granted the challenge to Joseph Wasserman’s registration and
purported to invalidate Joseph Wasserman’s vote in the Special Election. The BOE
justified its cancellation of Joseph Wasserman’s vote with the following statement:
“Divorce pending/residing in basement apartment. Ken Nakdimen’s nephew. No
documentation provided.” In the February Determination, the BOE cancelled Joseph
Wasserman’s registration without explanation.

99. For each of these voters, the overwhelming weight of the evidence demonstrates
that he or she remains qualified to vote in the Village of Bloomingburg. This evidence includes
statements and affirmations submitted by Plaintiffs verifying: Their intention to remain resident
in the Village of Bloomingburg; their history of voting in the Village of Bloomingburg; their
signing of affidavit ballot envelopes verifying, under penalty of perjury, that they reside in the
Village of Bloomingburg; their voting in Bloomingburg during the November general election;
their submission of voter questionnaires and address confirmation cards verifying their
Bloomingburg residence: their submission of lease agreements, bills, invoices, and other
documents reflecting their residence in the Village of Bloomingburg; and their submission of
New York Driver License and registration documents evidencing their residence in the Village

of Bloomingburg.

41
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 42 of 66

- 100. No board of elections anywhere in the United States may force registered voters
to justify their existing registration through the submission of such a wealth of evidence. For the
BOE then to proceed to try to nullify these registrations on multiple occasions is unconscionable.
Worse, the Board of Elections cancelled the registrations of voters who, among other things:

e Registered to vote with the BOE, which is entitled to presumption of validity.

e Appeared in person at their polling place and affirmed, subject to penalty of law, that
they were properly registered to vote in the village election.

e Responded to the post-registration challenge questionnaires that were sent to them by
the BOE, again affirming the veracity of their responses.

e Talked in person to the Sullivan County Sheriff to prove their residency.
e Appeared in person at the polls during a general election.
e Provided additional information evidencing their continued residency by either

appearing in person before the BOE or by submitting affirmations and other
documentation of residence, such as utility bills.

101. Not content with twice cancelling the voter registrations, the Board recently took
yet another measure to create more pretextual justifications for cancelling still more votes. On
February 27, 2015, the Board sent voter Confirmation Cards—teserved by the Election Law for
voters who change addresses—to Hasidic Jewish voters throughout Bloomingburg. N.Y. Elec.
§ 5-712. Confirmation cards are sent to voters who change their addresses through the National
Change of Address System or notify the Board of Election of changes of address. If a
confirmation card is returned to the Board of Elections as undeliverable, the voter may be
required to vote by affidavit ballot and if the voter does not vote in the next two federal elections,
the voter’s registration may be cancelled. New York Election Law prohibits the sending of
confirmation notices between June and November and within the 90 days before any spring

. primary election. The BOE will no doubt rely on those cards, sent in the midst of winter storms,

42
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 43 of 66

as a justification for moving Hasidic Voters to an inactive status, and potentially seeking to
cancel their voter registration, for yet a third time.

102. In addition, Plaintiffs have just received a new round of voter registration
challenges filed by individuals affiliated with the RCC. Those challenges, apparently filed with
the BOE on March 2, 2015, take aim at the handful of Hasidic Jewish voters whom the BOE
permitted to remain on the voting rolls. This ensures that absent action by this Court, these
unconstitutional and outrageous challenges will only continue.

CLASS ACTION ALLEGATIONS

103. Plaintiffs also bring this lawsuit as a class action pursuant to Federal Rule of Civil
Procedure 23(b)(2) and 23(b)(3) on behalf of a class of Hasidic Jewish voters who are eligible to
register to vote in the Village of Bloomingburg and whose votes or voter registrations have
annulled or cancelled, or have been purported to be annulled or cancelled, by the BOE.

104. Numerosity: The Class is so numerous that joinder of all members is impractical.
The precise number of members in the Class and their identities are unknown to Plaintiffs at this
time because the Board continues to aggressively investigate baseless objections to Hasidic
Jewish voter registrations and cancel Hasidic Jewish voter registrations.

105. Commonality: Common questions of law and fact exist as to all members of the
Class and predominate over any questions affecting solely individual members of the Class.

106. Typicality: Plaintiffs’ claims are typical of the claims of other members of the
Class. Plaintiffs have all been subject to discriminatory and arbitrary enforcement of the state
election laws and to unconstitutional burdens on their right to vote. Plaintiffs’ claims are based
on the same legal theories as the claims of other members of the Class.

107. Adequacy: Plaintiffs will fairly and adequately protect the interests of all

members of the Class in the prosecution of this action and have no conflicting interests with the

43
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 44 of 66

Class. Plaintiffs are similarly situated with, and have similar injuries to, the members of the
Class they seek to represent. Plaintiffs are adults and have retained counsel experienced in
complex class action matters.

108. Superiority: A class action is superior to all other available methods for the fair
and efficient adjudication of this case, because joinder of all members is impractical. Class
treatment is especially appropriate in this case because Defendants have intimidated and
penalized members of the Class for voting. Thus, individual members of the Class may be
unable or unwilling to risk further retaliation by seeking individually to vindicate their rights.
The class action device presents few, if any, management difficulties in this case and provides
the benefits of a single adjudication, economy of scale, and comprehensive supervision by a
single court on the issue of Defendants’ liability. Class treatment of this action will ensure that
all claims of members of the Class are before this Court for consistent adjudication.

CAUSES OF ACTION

AS AND FOR A FIRST CAUSE OF ACTION
“Equal Protection — Religious Discrimination”
U.S. Constitution, Fourteenth Amendment, Equal Protection
42 U.S.C. § 1983

(Against All Defendants)

109, Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.

110. The Equal Protection Clause of the Fourteenth Amendment to the United States
Constitution provides that “[n]o state shall make or enforce any law which shall . . . deny to any
person within its jurisdiction the equal protection of the laws.”

111. Defendants, acting in their official government capacity, intentionally and

purposefully discriminated against and continue to discriminate against Plaintiffs on the basis of

44
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 45 of 66

their religion: (1) by discriminating against and targeting Plaintiffs; (2) by prohibiting Plaintiffs
from voting in Village elections; and (3) by treating Hasidic Jewish voters, including Plaintiffs,
on less equal terms than non-Hasidic Jewish voters. Defendants’ disparate treatment was
intentional.

112. Defendants have discriminated against Plaintiffs on the basis of their religious
views in numerous ways, including without limitation:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used
in connection with any other voter registration challenge in Sullivan County or anywhere
else, and were purposefully and deliberately used against Plaintiffs to make it more
difficult for Hasidic Jewish voters to verify their voter registration.

C. Selectively and arbitrarily relying upon the Sheriff's reports to justify
cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriff's findings where he had confirmed that the Hasidic
Jewish voters reside in Bloomingburg.

D. Retroactively annulling the votes of Hasidic Jewish voters in clear and
blatant disregard of New York Election Law.

E. Placing exceptional burdens on Hasidic Jews to prove their residency,

including requiring corroborating evidence beyond a sworn statement of residency.

45
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 46 of 66

F. Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

113. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

AS AND FOR A SECOND CAUSE OF ACTION

“Equal Protection — Denial of the Right to Vote”

U.S. Constitution, Fourteenth Amendment, Equal Protection
42 U.S.C. § 1983

(Against All Defendants)

114. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.

115. The denial or dilution of the right to vote implicates equal protection concerns, as
“the right to vote as the legislature has prescribed is fundamental; and one source of its
fundamental nature lies in the equal weight accorded to each vote and the equal dignity owed to
each voter.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).

116. Defendants, acting in their official government capacity, intentionally and
purposefully discriminated against Plaintiffs on the basis of their religion by depriving Plaintiffs

of their rights to have their vote count equally as to other individuals: (1) by substantially

46
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 47 of 66

burdening Plaintiffs’ right to vote without a compelling government interest; (2) by
discriminating against and targeting Plaintiffs; (3) by prohibiting Plaintiffs from voting in
Village elections; and (4) by treating Hasidic Jewish voters, including Plaintiffs, on less equal
terms than non-Hasidic Jewish voters. .Defendants’ disparate treatment of Plaintiffs was not and
is not merely incompetent or negligent.

117. Defendants have discriminated against Plaintiffs by depriving Plaintiffs of their
rights to vote in numerous ways, including without limitation:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly. submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used
in connection with any other voter registration challenge in Sullivan County or anywhere
else, and were purposefully and deliberately used with Plaintiffs to make it more difficult
for Hasidic Jewish voters to prove that their voter registration was correct.

C. Selectively and arbitrarily relying upon the Sheriff's report to justify
cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriff's findings where he had confirmed that the Hasidic
Jewish voters reside in Bloomingburg. |

Dz. Retroactively annulling the votes of Hasidic Jewish voters in clear and

blatant disregard of New York Election Law.

47
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 48 of 66

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F. Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented. |
118. Defendants’ actions were not motivated by and did not serve any legitimate,

rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

119. Defendants’ disparate treatment of Plaintiffs, because they are Hasidic Jewish
voters, has resulted in an erroneous deprivation of Plaintiffs’ constitutionally protected right to
vote.

AS AND FOR A THIRD CAUSE OF ACTION
“Due Process — Right to Vote”

USS. Constitution, Fourteenth Amendment, Due Process
42 U.S.C. § 1983

(Against All Defendants)
120. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.
121. The Due Process Clause of the Fourteenth Amendment to the United States

Constitution provides, in pertinent part, that no state shall “deprive any person of life, liberty, or

48
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 49 of 66

property, without due process of the law.” The right to vote has long been recognized as a
fundamental, constitutionally protected right that is “preservative of all rights.” Yick Wo v.
Hopkins, 118 U.S. 356, 370 (1886).

122. Defendants’ actions violated and continue to violate due process by depriving
Plaintiff of their constitutionally protected right to vote because Plaintiffs are Hasidic Jews.

123. Defendants, acting in their official government capacity, intentionally and
purposefully annulled Plaintiffs’ votes and disenfranchised Plaintiffs because they are Hasidic
Jews. Defendants denied Plaintiffs due process by, among other things:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires that were not
required or sanctioned by the Election Law, and on information and belief, have never
been used in connection with any other voter registration challenge in Sullivan County or
anywhere else, and were purposefully and deliberately used with Plaintiffs to make it
more difficult for Hasidic Jewish voters to prove that their voter registration was correct,

C. Selectively and arbitrarily relying upon the Sheriff's reports to justify
cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriffs findings where he had confirmed that the Hasidic
Jewish voters reside in Bloomingburg.

D. Retroactively annulling votes of Hasidic Jewish voters in clear and blatant

disregard of New York Election Law.

49
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 50 of 66

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F. Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

124. Defendants’ actions and determinations were and are designed to prevent Hasidic
Jewish voters from voting in Village elections to support the candidates and referendums of the
their choice, including candidates and referendums that would support the completion of both
Chestnut Ridge, a religious school for Hasidic Jewish children, and a mikvah to serve the
religious needs of Hasidic Jewish women.

125. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

126. Defendants’ actions risked erroneously depriving Plaintiffs of their
constitutionally protected right to vote, and, in fact, did erroneously deprive Plaintiffs of their

constitutionally protected right to vote.

50
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 51 of 66

AS AND FOR A FOURTH CAUSE OF ACTION
“Due Process — Arbitrary”
U.S. Constitution, Fourteenth Amendment, Due Process
42 U.S.C. § 1983

(Against All Defendants)

127. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein,

128. The Due Process Clause of the Fourteenth Amendment to. the United States
Constitution provides, in pertinent part, that no state shall “deprive any person of life, liberty or
property, without due process of law.”

129. Defendants, acting in their official government capacity, intentionally and
purposefully acted in ways that were capricious and arbitrary so as to deny Plaintiffs due process
by, among other things:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used
in connection with any other voter registration challenge in Sullivan County or anywhere
else, and were purposefully and deliberately used against Plaintiffs to make it more
difficult for Hasidic Jewish voters to verify their voter registration.

C. Selectively and arbitrarily relying upon the Sheriff's reports to justify

cancellation when the Sheriff found the evidence of residency inconclusive but to ignore

51
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 52 of 66

the probative value of the Sheriff's findings where he had confirmed that the Hasidic
Jewish voters reside in Bloomingburg.

D. Retroactively annulling the votes of Hasidic Jewish voters in clear and
blatant disregard of New York Election Law.

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F, Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

130. Defendants failed to comply with ordinary and regular procedures, entered ~

arbitrary determinations contrary to the weight of evidence, and failed to provide any reasoned

basis for such actions. Those actions had the effect of depriving Plaintiffs of a protected interest

in their right to vote without due process.

131. The arbitrary nature of Defendants is demonstrated by their repeated violations of

New York State Election Law.

132. Defendants’ asserted rationales for their actions—investigating Hasidic Jewish

voters based on frivolous objections, purporting to retroactively annul votes cast by Hasidic

Jews, and cancelling voter registrations of Hasidic Jews—do not provide a valid, rational, or

52
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 53 of 66

compelling basis for Defendants’ actions and determinations. In fact, the BOE’s February
Determination is not supported by any rationale, explanation, or justification at all.

133. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in arbitrary
discrimination against Plaintiffs because they are Hasidic Jews.

134. Defendants’ actions erroneously deprived Plaintiffs of their constitutionally
protected right to vote, and, in fact, did erroneously deprive Plaintiffs of their constitutionally
protected right to vote.

AS AND FOR A FIFTH CAUSE OF ACTION
“First Amendment — Religious Freedom”

U.S. Constitution, First and Fourteenth Amendment
42 U.S.C. § 1983

(Against All Defendants)

135. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.

136. The First Amendment prohibits states from imposing burdens on individuals
based upon their religious views or status, see United States v. Ballard, 322 U.S. 78 (1944), and
prohibits government action that “discriminates against some or all religious belief or regulates
or prohibits conduct because it is undertaken for religious reasons.” Church of the Lukumi
Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 532 (1993).

137. Defendants, acting in their official government capacity, intentionally and
purposefully deprived and continue to deprive Plaintiffs of their rights to free exercise of
religion: (1) by substantially burdening Plaintiffs’ religious exercise without a compelling
government interest; (2) by discriminating against and targeting Plaintiffs; (3) by prohibiting

Plaintiffs from voting in Village elections; and (4) by treating Hasidic Jewish voters, including

53
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 54 of 66

Plaintiffs, on less equal terms than non-Hasidic Jewish voters. Defendants’ treatment of
Plaintiffs was not and is not merely incompetent or negligent.

138. Defendants’ actions and determinations were and are designed to prevent Hasidic
Jewish voters from voting in Village elections to support the candidates and referendums of the
their choice, including candidates and referendums that would support the completion of both
Chestnut Ridge, a religious school for Hasidic Jewish children, and a mikvah to serve the
religious needs of Hasidic Jewish women.

139. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

140. Defendants’ actions have resulted in a deprivation of Plaintiffs’ constitutionally
_ protected right to free exercise of religion.

AS AND FOR A SIXTH CAUSE OF ACTION
“First Amendment - Freedom of Association, Right to Vote”

U.S. Constitution, First and Fourteenth Amendment
42 U.S.C. § 1983

(Against All Defendants)

141. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.

142. The First Amendment protects the freedom to join together to further common
political beliefs, which “presupposes the freedom to identify those who constitute the
association, and to limit the association to those people.” Democratic Party of United States v.
Wisconsin ex rel. La Follette, 450 U.S. 107, 122 (2000). “The right to vote derives from the
right of association that is at the core of the First Amendment, protected from state infringement

by the Fourteenth Amendment.” Storer v. Brown, 415 U.S. 724, 756 (1974).

54
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 55 of 66

143. Defendants, acting in their official government capacity, intentionally and
purposefully deprived and continue to deprive Plaintiffs of their rights to vote: (1) by
substantially burdening Plaintiffs’ rights to vote without a compelling government interest; (2)
by discriminating against and targeting Plaintiffs; (3) by prohibiting Plaintiffs from voting in
Village elections; and (4) by treating Hasidic Jewish voters, including Plaintiffs, on less equal
terms than non-Hasidic Jewish voters. Defendants’ treatment of Plaintiffs was not and is not
merely incompetent or negligent.

144. Defendants have deprived Plaintiffs of their First Amendment rights to vote in
numerous ways, including without limitation:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used
in connection with any other voter registration challenge in Sullivan County or anywhere
else, and were purposefully and deliberately used against Plaintiffs to make it more
difficult for Hasidic Jewish voters to verify their voter registration.

C. Selectively and arbitrarily relying upon the Sheriffs reports to justify

- cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriffs findings where he had confirmed that the Hasidic

Jewish voters reside in Bloomingburg.

55
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 56 of 66

D. Retroactively annulling the votes of Hasidic Jewish voters in clear and
blatant disregard of New York Election Law.

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F, Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

145. Defendants’ actions were not motivated by and did not serve any legitimate,

rational, or compelling government interest, but were motivated by and resulted in discrimination

against Plaintiffs because they are Hasidic Jews.

146. Defendants’ actions erroneously deprived Plaintiffs, because they are Hasidic

Jews, of their constitutionally protected rights to vote.

AS AND FOR A SEVENTH CAUSE OF ACTION
“First Amendment - Freedom of Association”
USS. Constitution, First and Fourteenth Amendment
42 US.C. § 1983

(Against All Defendants)

147. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this

Complaint with the same force and effect as though set forth at length herein.

56
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 57 of 66

148. The First Amendment protects the freedom to join together to further common
political beliefs, which “presupposes the freedom to identify those who constitute the
association, and the limit the association to those people.” Democratic Party of United States v.
Wisconsin ex rel. La Follette, 450 U.S. 107, 122 (2000). “{I]implicit in the right to engage in
activities protected by the First Amendment a corresponding right to associate with others in
pursuit of a wide variety of political, social, economic, educational, religious, and cultural ends.”
Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984). |

149. Defendants, acting in their official government capacity, intentionally and
purposefully deprived and continue to deprive Plaintiffs of their tights to freedom of association:
(1) by substantially burdening Plaintiffs’ rights to ‘vote without a compelling government
interest; (2) by discriminating against and targeting Plaintiffs; (3) by prohibiting Plaintiffs from
voting in Village elections; and (4) by treating Hasidic Jewish voters, including Plaintiffs, on less
equal terms than non-Hasidic Jewish voters. Those actions have limited, impaired, and seriously
handicapped Plaintiffs’ ability to associate with others in order to pursue shared political, social,
educational, religious, and cultural goals. Defendants’ actions have essentially cut off the
Hasidic Jewish community in Sullivan County, including Plaintiffs, from participating in local
politics, severely limiting the opportunities of the Hasidic Jewish community, and Plaintiffs, for
political representation regarding physical, social, religious, and cultural developments in
Sullivan County.

150. Defendants’ actions and determinations were and are designed to prevent Hasidic
Jewish voters from voting in Village elections to support the candidates and referendums of the

their choice, including candidates and referendums that would support the completion of both

57
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 58 of 66

Chestnut Ridge, a religious school for Hasidic Jewish children, and a mikvah to serve the
religious needs of Hasidic J ewish women.

151. Defendants’ asserted rationales for their actions—investigating Hasidic Jewish
voters based on facially unmeritorious objections, purporting to retroactively annul votes cast by
Hasidic Jews, and cancelling voter registrations of Hasidic Jews—do not provide a valid,
rational, or compelling basis for Defendants’ actions and determinations. In fact, the BOE’s
February Determination is not supported by any rationale, explanation, or justification at all.

152. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

153. Defendants’ actions erroneously deprived Plaintiffs, because they are Hasidic
Jews, of their constitutionally protected rights to associate with others in pursuit of political,
social, religious, and cultural ends.

AS AND FOR AN EIGHTH CAUSE OF ACTION
“Denial of Right to Vote”

Voting Rights Act of 1965
52 U.S.C.A. § 10307(a)

(Against All Defendants)
154. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.
155. The Voting Rights Act of 1965 provides, “[nJo person acting under color of law
shall fail or refuse to permit any person to vote who is entitled to vote... or willfully fail or

refuse to tabulate, count, and report such person’s vote.” 52 U.S.C.A. § 10307(a).

58
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 59 of 66

156. Defendants, acting under color of law, intentionally and purposefully limited,
abridged, and denied Plaintiffs, because they are Hasidic Jews, the right to vote and refused to
tabulate, count or report Plaintiffs’ votes.

157. Defendants acted in violation of the Voting Rights Act by, among other things:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used
in connection with any other voter registration challenge in Sullivan County or anywhere
else, and were purposefully and deliberately used against Plaintiffs to make it more
difficult for Hasidic Jewish voters to verify their voter registration.

C. Selectively and arbitrarily relying upon the Sheriff's reports to justify
cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriff’s findings where he had confirmed that the Hasidic

_ Jewish voters reside in Bloomingburg.

D. Retroactively annulling the votes of Hasidic Jewish voters in clear and
blatant disregard of New York Election Law.

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F. Completely ignoring evidence that Plaintiffs submitted to confirm their

registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel

59
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 60 of 66

these registrations in November 2014, and then arbitrarily and without reasoned

explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

158. Defendants’ actions and determinations were and are designed to prevent Hasidic
Jewish voters from voting in Village elections to support the candidates and referendums of the
their choice, including candidates and referendums that would support the completion of both
Chestnut Ridge, a religious school for Hasidic Jewish children, and a mikvah to serve the
religious needs of Hasidic Jewish women.

159. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

160. Defendants’ actions have limited, discouraged, and deprived Plaintiffs from
exercising their constitutionally protected right to vote. Indeed, Defendants have erroneously
deprived Plaintiffs, because they are Hasidic Jews, of their constitutionally protected rights to
vote.

- AS AND FOR A NINTH CAUSE OF ACTION
“Intimidation, Threatening, or Coercion”

Voting Rights Act of 1965
52 U.S.C.A. § 10307(b)

(Against All Defendants)

161. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this

Complaint with the same force and effect as though set forth at length herein.

60
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 61 of 66

162. The Voting Rights Act of 1965 provides “[n]o person, whether acting under color
of law or otherwise, shall intimidate, threaten, or coerce, or attempt to intimidate, threaten, or
coerce any person for voting or attempting to vote... .” 52 U.S.C. § 10307(b).

163. Defendants, acting in their official government capacity, intentionally and
purposefully have intimidated, threatened, and coerced Plaintiffs, because they are Hasidic Jews,
for voting.

164. Defendants acted in violation of the Voting Rights Act by, among other things:

A. Entertaining frivolous challenges to Hasidic Jewish voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B.' — Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used
in connection with any other voter registration challenge in Sullivan County or anywhere
else, and were purposefully and deliberately used against Plaintiffs to make it more
difficult for Hasidic Jewish voters to verify their voter registration.

C. Selectively and arbitrarily relying upon the Sheriff's reports to justify
cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriff's findings where he had confirmed that the Hasidic
Jewish voters reside in Bloomingburg.

D. Retroactively annulling the votes of Hasidic Jewish voters in clear and

blatant disregard of New York Election Law.

6]
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 62 of 66

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F, Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015.

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

165. Defendants’ actions and determinations were and are designed to prevent Hasidic
Jewish voters from voting in Village elections to support the candidates and referendums of the
their choice, including candidates and referendums that would support the completion of both
Chestnut Ridge, a religious school for Hasidic Jewish children, and a mikvah to serve the
religious needs of Hasidic Jewish women.

166. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

167. Defendants’ actions erroneously deprived Plaintiffs, because they are Hasidic
Jews, of their constitutionally protected rights to vote, and therefore their rights to participate in

the political process in Sullivan County and to election representatives of their choice.

. 62
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 63 of 66

AS AND FOR A TENTH CAUSE OF ACTION
“Prohibitions and Limitations on Voting Rights”
Voting Rights Act of 1965
52 U.S.C.A. § 10301

(Against All Defendants)

168. Plaintiffs repeat and reallege all of the foregoing allegations set forth in this
Complaint with the same force and effect as though set forth at length herein.

169. The Voting Rights Act of 1965 prohibits any state limitation on the right to vote |
“which results in a denial or abridgement of the right of any citizen of the United States to vote
on account of race or color.” 52 U.S.C.A. §10301(a). This Court has interpreted this |
prohibition to extend to the denial of abridgement of the right to vote based on association or
membership in Hasidic Jewish community. See LeBlanc-Sternberg v. Fletcher, 781 F. Supp.
261, 272 (S.D.N.Y. 1991).

170. Defendants, acting in their official government capacity, intentionally and
purposefully limited, abridged, and denied Plaintiffs, because they are Hasidic Jews, the right to
vote based on association and membership in the Hasidic Jewish community.

171. | Defendants acted in violation of the Voting Rights Act by, among other things:

A. Entertaining frivolous challenges to Hasidic Jewish ‘voters that were
plainly submitted by citizens with the agenda of depriving individuals with Hasidic
Jewish names of the right to vote on the basis of religion.

B. Responding to those challenges by requiring Hasidic Jewish voters,
including Plaintiffs, to answer extensive and burdensome questionnaires not required or
sanctioned by the Election Law, and that on information and belief, have never been used

in connection with any other voter registration challenge in Sullivan County or anywhere

63
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 64 of 66

else, and were purposefully and deliberately used against Plaintiffs to make it more
difficult for Hasidic Jewish voters to verify their voter registration.

C. Selectively and arbitrarily relying upon the Sheriff's reports to justify
cancellation when the Sheriff found the evidence of residency inconclusive but to ignore
the probative value of the Sheriff's findings where he had confirmed that the Hasidic
Jewish voters reside in Bloomingburg.

D. Retroactively annulling the votes of Hasidic Jewish voters in clear and
blatant disregard of New York Election Law.

E. Placing exceptional burdens on Hasidic Jews to prove their residency,
including requiring corroborating evidence beyond a sworn statement of residency.

F, Completely ignoring evidence that Plaintiffs submitted to confirm their
registrations in Bloomingburg, relying instead upon irrelevant facts in an effort to cancel
these registrations in November 2014, and then arbitrarily and without reasoned
explanation cancelling these registrations in February 2015. |

G. Conducting sham and perfunctory investigations and hearings purporting
to determine eligibility to vote that, upon information and belief, were conducted in bad
faith with the intent of granting the challenges to Hasidic Jewish voters’ registration
regardless of evidence presented.

172. Defendants’ actions were and are designed to prevent Hasidic Jewish voters from
voting in Village elections for candidates and on referenda, including for candidates that would
support the completion of both Chestnut Ridge, a religious school for Hasidic Jewish children,

and a mikvah to serve the religious needs of Hasidic Jewish women.

64
Case 1:15-cv-01757-KBF Document1 Filed 03/09/15 Page 65 of 66

173. Defendants’ actions were not motivated by and did not serve any legitimate,
rational, or compelling government interest, but were motivated by and resulted in discrimination
against Plaintiffs because they are Hasidic Jews.

174. Defendants’ actions erroneously deprived Plaintiffs, because they are Hasidic
Jews, of their constitutionally protected rights to vote, and therefore their rights to participate in
the political process in Sullivan County and to election representatives of their choice.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:

(1) Certifying this action as a Class Action pursuant to Rule 23 of the Federal Rules
of Civil Procedure and appointing Plaintiffs as class representatives and their
counsel as Class Counsel;

(2) Awarding Plaintiffs and the Class compensatory damages in an amount to be
determined for the deprivation of Plaintiffs’ constitutional rights, the economic
injury caused by Defendants’ unlawful conduct, and expenses occurred by
Plaintiffs and caused by Defendants’ actions in an amount to be determined at
trial;

(3) Awarding Plaintiffs and the Class punitive damages;

(4) Enjoining Defendants, their officers, agents, employees, and attorneys from the
discriminatory enforcement of the election laws and from seeking to prohibit
Plaintiffs and the Class from voting in elections; from annulling votes cast by
Plaintiffs and the Class; and from disenfranchising Plaintiffs and the Class;

(5) Awarding Plaintiffs the costs, disbursements, and attorneys’ fees incurred in

connection with this action pursuant to 42 U.S.C. § 1988; and

65
Case 1:15-cv-01757-KBF Document 1 Filed 03/09/15 Page 66 of 66

(6) Awarding Plaintiffs and the Class such other and further relief as this Court

deems just and proper.

JURY DEMAND

Pursuant to Fed. R. Civ. Pro. 38, Plaintiffs demands a jury on all issues so triable.

 

Dated: March 9, 2015 DECHERT LLP
New York, New York
By: TAA
St A. Engel
tchael H. Park

Jamie R. Hacker

1095 Avenue of the Americas
New York, New York 10036
(212) 698-3500

(212) 698-3599 (facsimile)
steven.engel@dechert.com

Lily A. North (pro hac vice pending)
One Bush Street, Suite 1600

San Francisco, California 94104
(415) 262-4500

(415) 262-4555 (facsimile)
Attorneys for Plaintiffs

66
